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VICTIM IMPACT STATEMENT

Your Honor,

If someone produces and/or distributes CSAM, I believe they need fo serve time incarcerated,
Many know me as “Tara,” but few truly understand the impact that the production and distribution of CSAM has had on my life.

Imagine being a young teenager yearning to experience “normatcy” like others your age, but you did not have a norma! childhood,
remember? Because your name, face, and bedy have been plastered all over the dark web, you are threatened by online child
predators. You are manipulated by consumers of CSAM online who pretend to befriend you, only to post your conversations in a chat
room with other consumers. You are verbally and sexually harassed online by CSAM consumers, encouraged to commit suicide even.
Anonymous people find you on social media, call you by your infamous given name of “Tara”, and send you images of their genitalia
or even images of you being sexually abused,

Imagine being known as “Tara,” a label that you never chose yet have been haunted by as well the painful memories that are tied to it.

You just want to break free from this title, which for so long has enslaved you.

Imagine being in high scheol, confiding in a trusted peer regarding your tainted childhood only for hin to become jealous of your
current dating relationship. He decides to create anonymous accounts on social media and sends CSAM of yourself to both you and
your dating partner.

Imagine attending college and being notified by a close friend that a potential predator has contacted them in search of you. This
individual tells your friend that they are a reporter and discloses your childhood trauma. They te!l your friend that they know where
you go to college and try to persuade your friend into sharing information about you. But your friend thankfully does not.

Imagine having panic attacks right before moving out on your own. You have never had these before, and you are quite surprised yet
terrified due to feeling as if your throat ts closing in and you are having a heart attack.

Imagine being in your 20s, undergoing counseling yet again because having a healthy relationship with a male seems nearly
impossible due to the betrayal and sexual objectification you seem to have experienced since you were a young child. You ask
yourself the question, “Will someone ever truly love me for who I am at the core— a soul— or will they just be infatuated with my
flesh?”

Imagine desiring to have a family of your own someday, but you worry if the experiences from your childhood will endanger your
own children. You fear that consumers of CSAM will target your children due to their disturbing obsession with you.

Imagine believing that in the future you must inform your children of your sexually exploitative childhood at some point early on, in
hopes to prevent them from undergoing the torment that you went through.

Imagine feeling like you are constantly living in a hypervigilant state, always on the lookout for danger. You desire connection with
others, yet you fear what lurks in the shadows, both in-person and online. What if they know you as “Tara?”

Tmagine that images and videos of your sexual abuse are still circulating online throughout the world to this very day. You are
revictimized every single time one of these images or videos is viewed, downloaded, or sent to another individual.

Imagine that you are a young adult in the process of finding yourself and trying to create a life that produces both joy and purpose.
Despite the online sexuai exploitation and negative effects that it has bestowed on your life, you are still trying to live, not to merely
exist or survive but to thrive. This has been a challenge, but you refuse to give up.

Imagine you are me.

Sincerely,

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VICTIM IMPACT STATEMENT
“Tara” Series

9/20/20

As the victim of this horrific crime that continues to follow me, | would like to submit a statement. | have tried
over the years to overcome my past and not let it determine my future, but perpetrators and stalkers still find a
way to view this filth. As a child, | had no control over these acts nor the videos that were produced. As I have
aged, I'm appalled at the number of people who find this on the internet still.

From the time that this came into the public eye, | have been unable to live in my family home not only due to
the fact that these original crimes were perpetrated in that home, but also to the fact that harassment by people
who began to watch my house and post our comings and goings in chat rooms. Someone immediately broke
our windows. People continued to harass me and my family by turning on the water, tampering with the
mailbox, throwing nails in our yard. The last straw was someone sending sexually explicit items to me (an
under 12-year-old minor at the time) to our house address. | was forced to vacate this house since law
enforcements were unable to track the perpetrators, so my young life was topsy turvy trying to find temporary
housing. | was forced to live with different people for my protection, so the instability has caused me to five in
constant fear for my safety.

| went through weekly counseling for several years and had night terrors for months after the original
perpetrator was convicted of all his crimes, but he had shared this with more individuals who shared this.

Since this time, | have been unable to be a normal child growing into a normal teen who could come and go
and just enjoy being young. | was unable to have social media like the normal kid, because these sick
individuals wouid find me and send me very threatening messages against my welfare. My mom was forced to
constantly follow me places — school events, sports, field trips, etc. Even as | have grown older, there are
consistent concerns for my welfare, and extreme measures are in constant force to keep me safe. | received
threats in message boards along with people telling me that | was worthless and should kill myself. So, in
effect, |, as a victim, was being bullied over a crime that robbed me of my childhood. It makes me extremely
angry at the individuals who view and distribute this because they are fueling this sick obsession.

Even in the past 3 years as most recent as 2019, | have been stalked online and off. | even had a young
person | knew send me some of those terrible photos during the past 3 years. In recent months, | had a
stranger contact one of my friends to get in touch with me. Even though he came across to my friend as
curious, | have no doubt it was a predator looking for me. | most recently have been in counseling due to
constant anxiety and stress over the situation. This counselor has suggested that | remain in counseling for
many years due to this constant anxiety. Because of this continuous stalking and fear, | have begun to have
severe panic attacks during the summer of 2020. My physician said that these can be caused by a build-up of
years of fear for my life.

Every time someone views this trash, he is once again making me re-live the most horrific part of my
childhood. | can never truly heal because the perpetrators and stalkers never allow me to do so. Anyone
viewing these videos/pictures is just as guilty for causing me or any other exploited child undue harm,
unneeded stress and insecurity in a time when we need to feel safe and have a chance to heal/recover. As a
young adult, | now realize the extent of people looking at these and I’m concerned about their locations fearing
that they will find me. These people need to be punished for taking away a major part of my childhood and
sense of security.

| offer these reasons the defendant should not be allowed around children for a long time.

Sincerely,

“Tara”
